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9
                                UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11
                                   SAN FRANCISCO DIVISION
12
13   UNITED STATES OF AMERICA,         )              CR 05-00284 SI
                                       )
14                Plaintiff,           )
                                       )
15    v.                               )
                                       )                ORDER EXCLUDING TIME
16                                     )                UNDER THE SPEEDY TRIAL ACT
                                       )
17   AKRAM SABAR CHAUDHRY,             )
        aka Akram Sabar, and           )
18   MOHAMMAD ADIL,                    )
        aka Adil Mohammad,             )
19                                     )
                                       )
20                       Defendants.   )
     ________________________________ _)
21
               The United States of America, by and through its attorneys, Kevin V. Ryan,
22
     United States Attorney for the Northern District of California, by J. Douglas Wilson,
23
     Assistant United States Attorney, and defendants Akram Sabar Chaudhry and Mohammad
24
     Adil, by and through their attorneys, stipulated in open court, and the Court agrees that
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     the time period between July 15, 2005, and October 31, 2005, shall be excluded from the
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     calculation of time in which the trial of the captioned matter must commence pursuant to
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28

     ORDER EXCLUDING TIME UNDER THE SPEEDY TRIAL ACT
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1    the Speedy Trial Act. This period of time is excluded pursuant to 18 U.S.C. §
2    3161(h)(8)(B)(iv) in order for the parties to prepare effectively for trial in light of
3    discovery and for continuity of counsel. The parties agree and the Court finds that the
4    ends of justice served by the exclusion of this time outweigh the best interest of the public
5    and the defendants in a speedy trial, all pursuant to 18 U.S.C. § 3161(h)(8)(A).
6
7    DATED: July 18, 2005                        Respectfully submitted,
8                                                KEVIN V. RYAN
                                                 United States Attorney
9
10
                                                                                 /S/
11                                               J. DOUGLAS WILSON
                                                 Assistant United States Attorney
12
13   SO ORDERED.
14   DATED:      7/19/05
15
                                                  s/William Alsupt
16
                                                 __________________________________
17                                               SUSAN ILLSTON
                                                 DISTRICT JUDGE
18                                               UNITED STATES DISTRICT COURT
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     ORDER EXCLUDING TIME UNDER THE SPEEDY TRIAL ACT
